 Fill in this information to identify the case:

 Debtor 1              Timothy Richard Scharnitzke
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                          Eastern
 United States Bankruptcy Court for the: ______________________              MI
                                                                District of __________
                                                                             (State)
 Case number            17-52484-mbm
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as
                   Trustee of the Bungalow Series III Trust
 Name of creditor: _______________________________________                                                           12
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          1143____ ____ ____
                                                         ____                            Must be at least 21 days after date       12        2020
                                                                                                                                   ____/____/_____
                                                                                                                                        01
                                                                                         of this notice


                                                                                         New total payment:                          850.56
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             413.97
                   Current escrow payment: $ _______________                           New escrow payment:           306.09
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


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Debtor 1         Timothy Richard Scharnitzke
                 _______________________________________________________                                               17-52484-mbm
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle Ghidotti
     Signature
                                                                                                Date    11/09/2020
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger LLP.
                    _________________________________________________________



 Address            1920 Old Tustin Ave.
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                                 SN Servicing Corporation                    Final
                                                    323 FIFTH STREET
                                                   EUREKA, CA 95501
                                                For Inquiries: (800) 603-0836
                                    Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
     Analysis Date: November 05, 2020

     TIMOTHY R SCHARNITZKE                                                                                     Loan:
     26144 PENNIE ST                                                                         Property Address:
     DEARBORN HEIGHTS MI 48125                                                               26144 PENNIE STREET
                                                                                             DEARBORN HEIGHTS, MI 48125



                                                Annual Escrow Account Disclosure Statement
                                                             Account History

     This is a statement of actual activity in your escrow account from May 2020 to Nov 2020. Last year's anticipated activity
     (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Dec 01, 2020:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 482.97                  544.47 **                Due Date:                                       Apr 01, 2020
 Escrow Payment:                           413.97                  306.09                   Escrow Balance:                                   (3,271.04)
 Other Funds Payment:                         0.00                    0.00                  Anticipated Pmts to Escrow:                        3,311.76
 Assistance Payment (-):                      0.00                    0.00                  Anticipated Pmts from Escrow (-):                       0.00
 Reserve Acct Payment:                        0.00                    0.00                  Anticipated Escrow Balance:                           $40.72
 Total Payment:                              $896.94                    $850.56

     ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.

                     Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date          Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                 Starting Balance         1,305.90             (2,441.86)
     May 2020            326.47                                             *                             1,632.37             (2,441.86)
     Jun 2020            326.47        478.08                               *                             1,958.84             (1,963.78)
     Jul 2020            326.47                                             *                             2,285.31             (1,963.78)
     Jul 2020                                                        211.81 *    Homeowners Policy        2,285.31             (2,175.59)
     Jul 2020                                                      2,210.69 *    City/Town Tax            2,285.31             (4,386.28)
     Aug 2020            326.47                         881.30              *    City/Town Tax            1,730.48             (4,386.28)
     Sep 2020            326.47                                             *                             2,056.95             (4,386.28)
     Oct 2020            326.47                                             *                             2,383.42             (4,386.28)
     Oct 2020                       1,115.24                                *    Tax Refund Report        2,383.42             (3,271.04)
     Nov 2020            326.47                                             *                             2,709.89             (3,271.04)
                                                                                 Anticipated Transactions 2,709.89             (3,271.04)
     Nov 2020                   3,311.76                                                                                           40.72
                     $2,285.29 $4,905.08             $881.30      $2,422.50

     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
     our toll-free number.


     Last year, we anticipated that payments from your account would be made during this period equaling 881.30. Under
     Federal law, your lowest monthly balance should not have exceeded 652.94 or 1/6 of the anticipated payment from the
     account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
     silent on this issue.




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                                             SN Servicing Corporation                    Final
                                           For Inquiries: (800) 603-0836
                                Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
 Analysis Date: November 05, 2020

 TIMOTHY R SCHARNITZKE                                                                                           Loan:

                                           Annual Escrow Account Disclosure Statement
                                                  Projections for Coming Year

This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
from your account.


   Date              Anticipated Payments                                                                  Escrow Balance
                     To Escrow From Escrow               Description                                 Anticipated      Required
                                                         Starting Balance                                 40.72       1,570.40
Dec 2020               242.35             1.67           City/Town Tax                                   281.40       1,811.08
Jan 2021               242.35                                                                            523.75       2,053.43
Feb 2021               242.35        1,811.08            Homeowners Policy                            (1,044.98)        484.70
Mar 2021               242.35                                                                           (802.63)        727.05
Apr 2021               242.35                                                                           (560.28)        969.40
May 2021               242.35                                                                           (317.93)      1,211.75
Jun 2021               242.35                                                                            (75.58)      1,454.10
Jul 2021               242.35                                                                            166.77       1,696.45
Aug 2021               242.35        1,095.45            City/Town Tax                                  (686.33)        843.35
Sep 2021               242.35                                                                           (443.98)      1,085.70
Oct 2021               242.35                                                                           (201.63)      1,328.05
Nov 2021               242.35                                                                             40.72       1,570.40
                    $2,908.20       $2,908.20

(Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
 Your escrow balance contains a cushion of 484.70. A cushion is an additional amount of funds held in your escrow
 balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
 Federal law, your lowest monthly balance should not exceed 484.70 or 1/6 of the anticipated payment from the account,
 unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
 this issue.

Your ending balance from the last month of the account history (escrow balance anticipated) is 40.72. Your starting
balance (escrow balance required) according to this analysis should be $1,570.40. This means you have a shortage of 1,529.68.
This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 24
months.

We anticipate the total of your coming year bills to be 2,908.20. We divide that amount by the number of payments expected during
the coming year to obtain your escrow payment.




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                                                                 Paying the shortage: If your shortage is paid in full, your new
    New Escrow Payment Calculation
                                                                 monthly payment will be $786.82 (calculated by subtracting the
    Unadjusted Escrow Payment                      242.35
                                                                 Shortage Amount to the left and rounding, if applicable). Paying the
    Surplus Amount:                                  0.00
                                                                 shortage does not guarantee that your payment will remain the same, as
    Shortage Amount:                                63.74
                                                                 your tax or insurance bills may have changed. If you would like to pay
    Rounding Adjustment Amount:                      0.00
                                                                 the shortage now, please pay the entire amount of the shortage before
    Escrow Payment:                               $306.09
                                                                 the effective date of your new payment. To ensure that the funds are
                                                                 posted to your account correctly, please notify your asset manager that
                                                                 you are paying the shortage.

   NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
   premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
   the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
   payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
   Street, Eureka, Ca 95501 or 800-603-0836.

* Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
or return in the self-addressed envelope.




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN


 In Re:                                                     Case No.: 17-52484-mbm
 Timothy Richard Scharnitzke,
                                                                  Chapter (13)

          Debtors.



                                CERTIFICATE OF SERVICE



       On 11/09/2020, I served the foregoing Notice of mortgage payment change on the
following individuals by electronic means through the Court’s ECF Program.
COUNSEL FOR DEBTOR
Christopher M. Carey
ecf@careylawgroup.net

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Dated: 11/09/2020                                            /s/ Maben May
                                                             Maben May

       On 11/09/2020, I served the foregoing Notice of mortgage payment change on the
following individuals by depositing true copies thereof in the United States mail at Santa Ana,
California, enclosed in a sealed envelope, with postage paid, addressed as follows:

DEBTORS
Timothy Richard Scharnitzke, 26144 Pennie, Dearborn Heights, MI 48125

Trustee
David Wm Ruskin, 26555 Evergreen Rd Ste 1100, Southfield, MI 48076-4251

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Dated: 11/09/2020                                           /s/ Maben May
                                                             Maben May




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